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                          IN THE UNITED STATES DISTRlCT COURT

                                FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
and                                   )
                                      )
CONFEDERATED TRIBES and BANDS )
OF THE YAKAMA INDIAN                  )                Civil No. 68-513-KI
NATION, et al.                        )
                                      )                OPINION AND ORDER
               Plaintiff-Intervenors, )                ON YAKAMA NAnON'S
        VS.                                    )       MOTION FOR PARTIAL SUMMARY
                                               )       JUDGMENT AGAINST COLVILLE
STATE OF OREGON, STATE OF                      )
WASHINGTON,                                    )
                                               )
                       Defendants,             )
                                               )
CONFEDERATED TRIBES OF THE                     )
COLVILLE INDIAN RESERVATION,                   )
                                               )
                       Respondent.             )
                                               )

KING, Judge:

        The United States filed this suit in 1968 on behalf of certain Indian tribes, seeking to

define the tribes' treaty rights to take fish at all usual and accustomed places along the Columbia

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River and its tributaries ("US v. Oregon"). The case was consolidated with another case filed in

1968 by individuals of the Confederated Tribes and Bands of the Yakama Nation ("Yakama").

Sohappy v. Smith, No. 68-409. Several tribal and governmental entities intervened in the case

filed by the United States, including Yakarna and the State of Washington. The Confederated

Tribes of the Colville Reservation ("Colville") sought intervention on two occasions, once in

1989 and once in 1999, but their requests were denied.

       Yakarna subsequently sought to enjoin Colville (representing its constituent tribe, the

Wenatchi) from fishing at the Wenatshaparn fishery at Icicle Creek, near Leavenworth,

Washington. On August 18, 2003, I granted Yakama's motion for injunctive relief, enjoining

Colville, and its constituent tribes, from fishing at Icicle Creek, and holding that Colville was

precluded from asserting the arguments it raised in opposition to Yakama's motion. That

holding was appealed, and the Ninth Circuit reversed and remanded the case "for trial on the

merits." United States v. State of Oregon, 470 F.3d 809, 818 (9 th Cir. 2006) ("Oregon II").

       Before the court is Yakama's Motion for Partial Summary Judgment (#2486). For the

following reasons, I deny the motion, except to the extent that I confirm previous opinions issued

by the Honorable Malcolm F. Marsh and the Ninth Circuit in United States v. Oregon, 29 F.3d

481 (9th Cir. 1994) ("Oregon I").

                     FACTUAL AND PROCEDURAL BACKGROUND

1.     The 1855 Treaty and the 1894 Agreement

       In 1855, the United States entered into two treaties, one with Yakama and one with the

Nez Perce Tribe, which have been at issue throughout this litigation. The Ninth Circuit

described these treaties as "among the treaties that were signed and negotiated by Governor


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Stevens in the 1850s in a hasty effort to clear land occupied by Indians for development by

settlers." Oregon 1,29 F.3d at 484. Ofrelevance to the motion before the court is the 1855 treaty

with the Yakama. Treaty with the Yakamas, 12 Stat. 951 (June 9,1855, ratified March 8, 1859,

proclaimed April 29, 1859) ("1855 Treaty").

        It is undisputed that the Wenatchi signed and were a party to the 1855 Treaty. Articles I,

II, and III of the 1855 Treaty set out what lands Yakama ceded to the United States. These

provisions also reserved certain other lands for Yakama, as well as its right to fish at "all usual

and accustomed places." In addition, Article X ofthe Treaty established a separate plot as

follows:

        That there is also reserved and set apart from the lands ceded by this treaty, for the
        use and benefit of the aforesaid confederated tribes and bands, a tract ofland not
        exceeding in quantity one township of six miles square, situated at the forks of the
        Pisquouse or Wenatshapam River, known as the "Wenatshapam Fishery," which
        said reservation shall be surveyed and marked out whenever the President may
        direct, and be subject to the same provisions and restrictions as other Indian
        reservations.

1855 Treaty, art. X, 12 Stat. at 954.

            The United States never lived up to its commitment to survey the Article X plot and

remove it from the public domain.

        In 1894, the United States negotiated an agreement with "the several tribes and bands

composing the Yakima! Nation," which provided for the relinquishment of the Article X

reservation area. Specifically, the agreement provided, in Article I, that Yakama "hereby cede

and relinquish to the United States all their right ... of fishery as set forth in Article X of the

Treaty aforesaid ...." Agreement with the Yakima Nation of Indians ("1894 Agreement"), art.


        IThe spelling used in the 1855 Treaty and 1894 Agreement is "Yakima." The current
spelling is "Yakama."
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I, 28 Stat. 320 (1894). In Article II, the 1894 Agreement provided,

        After the ratification of this agreement by Congress and the further consideration
        that the Indians known as the Wenatshapam Indians, residing on the Wenatchee
        River, State of Washington, shall have land allotted to them in severalty in the
        vicinity of where they now reside, or elsewhere, as they may select, in accordance
        with article 4 ofthe general allotment law.

1894 Agreement, art. II, 28 Stat. at 321.

        It is Colville's position (on behalf of the Wenatchi) that the United States' failure to

properly survey and reserve the land referenced in Article X led to the 1894 Agreement. Colville

contends that the 1894 Agreement was made to secure for the Wenatchi allotted land at the site

oftheir original reservation and to guarantee their rights to fish there, via Yakama's cessation of

its rights to both the Wenatshapam land and fishery, where Icicle Creek is located. Yakama

strongly disagrees with Colville's interpretation of the 1894 Agreement and its effect on

Yakama's treaty rights.

II.     Prior Relevant Rulings

        Yakama relies primarily on three opinions issued by this court and by the Ninth Circuit in

support of its arguments. Accordingly, I provide a summary of each opinion.

        In 1989, Colville sought to intervene in US v. Oregon to establish Treaty Tribe status and

to participate in the action and the then-existing Columbia River Fish Management Plan as a

Treaty Tribe. In its petition to intervene, Colville asserted that six of its constituent tribes

retained fishing rights as a result of the 1855 Treaty. As explained above, Yakama ceded lands

to the United States, but reserved off-reservation fishing rights on the Columbia and its

tributaries.

        Judge Marsh allowed Colville's motion to intervene for the limited purpose of


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determining whether Colville could establish Treaty Tribe status under the 1855 Treaty. After

holding a court trial on the motion in 1991, Judge Marsh found,

        [T]he Wenatchi, Entiat, Chelan and Columbia Indians who moved to the Colville
        Reservation followed Moses and refused to be bound by the 1855 treaty. Moses
        and his followers deliberately sought to separate themselves from the "Yakima
        Nation" identified in the treaty. Thus, although many current members of the
        Colville Confederacy are descendants of groups identified as belonging to part of
        the Yakima Nation within the 1855 treaty, Colville has failed to establish that
        those descendants are entitled to exercise rights reserved to the Wenatchi, Entiat,
        Chelan and Columbia who signed the treaty as part of the "Yakima Nation."

United States v. Oregon, 787 F. Supp. 1557, 1571 (D. Or. 1992). Judge Marsh concluded that

Colville was not a Treaty Tribe, and he dismissed its complaint in intervention, stating,

        I find that those treaties, and the judicial decisions which have struggled with their
        interpretations, have sought to achieve a system which recognizes an organized
        tribal structure as the administrator of rights reserved under the treaties in the
        fonn and substance which most closely resembles the framework envisioned by
        the treaties. I find the the [sic] administrators of those rights, as reflected in the
        1855 treaties, are The Confederated Tribes and Bands of the Yakima Indian
        Nation and The Nez Perce Tribe of Idaho.

        Based on the foregoing, I find that the Colville Confederated Tribes has failed to
        establish that it is the successor Indian government and the present day holder of
        treaty rights reserved to the Wenatchi, Entiat, Chelan, Columbia, Palus, or Chief
        Joseph Band ofNez Perce in the treaties of 1855 with the Yakima Nation or with
        the Nez Perce. Accordingly, the Colville complaint in intervention is dismissed.

Id. at 1572.

        Judge Marsh's ruling was affirmed by the Ninth Circuit. The Ninth Circuit explained that

despite the clumsy consolidation of diverse groups into a single treaty tribe, "[0 Jur court has ...

recognized the tribes created by Governor Stevens as the entities receiving treaty rights," and that

such rights "were to be enjoyed communally." Oregon 1,29 F.3d at 484. Furthermore, "[r]ights

under a treaty vest with the tribe at the time of the signing of the treaty." M.., citing United States

v. Washington, 520 F.2d 676, 692 (9th Cir. 1975). Applying this criteria, the court explained,

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        The Yakima Treaty of 1855 envisioned the creation of a successor tribe, a
        "Yakima Nation" composed of all the people represented by the signatories to the
        Treaty. The government intended all Indians represented by signatories to the
        Yakima Treaty to move to the newly established Yakima Reservation and
        comprise the Yakima Nation. The "Yakima Nation" that actually came into
        existence, however, was not the same as that originally envisioned. It was
        composed solely of the Indians who moved to the reservation established by the
        1855 Yakima Treaty.

Id. at 485.

        Nevertheless, the Ninth Circuit noted,

        The present Yakima Nation was recomposed in 1974 and has exercised treaty
        rights as a successor to the entities that signed the original 1855 Yakima Treaty.
        As Judge Boldt explained in United States v. Washington, 384 F. Supp. [312,]
        381 [W.D. Wash. 1974], "the Yakima Indians have continued to assert their off-
        reservation fishing rights, including fisheries in the case area." The Yakima
        Nation has thus continually exercised the off-reservation fishing rights and
        continued the fishing culture of the original signatories to the 1855 treaty.

Id. at 486. Finally, the Ninth Circuit held that neither Colville nor any of its constituent bands

such as the Wenatchi "retain[ed] any treaty fishing rights accorded signatories to the 1855

treaty." Id. "Rather, we conclude that by deliberately separating from the Yakima Nation, these

tribes failed to maintain political cohesion with the tribal entity in which the treaty fishing rights

are vested." Id.

        In 1999, Colville again sought to intervene in the action, which was opposed. This time,

Colville stated it sought to intervene solely to protect its on-reservation fishing rights. Judge

Marsh denied the motion to intervene as untimely because it was filed thirty-one years after the

litigation commenced and ten years after its original motion to intervene. Judge Marsh also

found that Colville's interests in upstream resources was too remote to be within the proper

subject matter of the case.

       In June 2003, Yakama moved to enjoin Colville from fishing at Icicle Creek, which I

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construed as a motion for pennanent injunctive relief. Colville argued that the right of the

Wenatchi to fish at the disputed location does not depend on the treaty rights that have been

adjudicated in this case, but rather on a new theory regarding the 1894 Agreement between the

United States and Yakama. Colville argued that in this Agreement, the Wenatshapam fishery,

where Icicle Creek is located, was separated from the Yakama Nation and any rights Yakama had

to the land or fishery under the 1855 Treaty were terminated. Yakama primarily argued that

under the doctrines of issue and claim preclusion, Colville was precluded from raising its

argument that it is entitled to fish at Icicle Creek by virtue of the 1894 Agreement. I accepted

Yakama's argument, holding that "Colville is precluded from raising the claims put forward in

these proceedings" and declining to "teach the issues of whether Yakama lost rights under the

1894 agreement and Colville gained the same.'~ United States v. Oregon, Opinion, No. 68-513-

Kl (D. Or. Aug. 18, 2003) (#2355). I issued an injunction enjoining Colville, its constituent

tribes, and tribal members from fishing on Icicle Creek in any manner not consistent with

Washington State law.

       The Ninth Circuit reversed and remanded, "conclud[ing] that Colville is not precluded by

res judicata from asserting the claim of the Wenatchi Tribe to fishing rights at the Wenatshapam

Fishery based on the 1894 Agreement." Oregon II, 470 F.3d at 818.

                                     LEGAL STANDARDS
       Summary judgment is appropriate when there is no genuine issue as to any material fact

and the moving party is entitled to a judgment as a matter oflaw. Fed. R. Civ. P. 56(c). The

initial burden is on the moving party to point out the absence of any genuine issue of material

fact. Once the initial burden is satisfied, the burden shifts to the opponent to demonstrate


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through the production of probative evidence that there remains an issue of fact to be tried.

Celotex Com. v. Catrett, 477 U.S. 317,323 (1986). On a motion for summary judgment, the

evidence is viewed in the light most favorable to the nomnoving party. Universal Health

Services. Inc. v. Thompson, 363 F.3d 1013, 1019 (9th Cir. 2004).

                                            DISCUSSION

       Yakama moves for a declaration that:

               The Wenatchee River Basin, and particularly the area of Icicle Creek,
       constitutes a "usual and accustomed" fishing place of the Yakama Nation
       pursuant to the Treaty with the Yakama, June 9,1855 (12 Stat. 951), subject to
       administration and control by the Yakama Nation; and that the group calling itself
       the "Colville/Wenatchi Constituent Tribe" has no such right.

Yakama Mot. for Partial Summ. J. at 1-2. It later appears to narrow its request, as in its reply

memorandum it seeks a conclusion about "what rights did Yakama obtain in 1855-regardless of

what mayor may not have happened 40 years later." Yakama Reply at 3.

       As an initial matter, the State of Washington correctly points out there is no case or

controversy for the court to declare Yakama' s right to fish at the larger "Wenatchee River

Basin,"as opposed to just Icicle Creek. See Oregon II, 470 F.3d at 810 (describing claim to be

about "fishing rights at the Wenatshapam Fishery on Icicle Creek"). In addition, I address only

Yakama' s narrower request that I determine as a matter of law what rights Yakama obtained in

1855; the question of whether Yakama ceded its rights to the fishery pursuant to the 1894

Agreement is an issue reserved for trial.

       Yakama asks me to grant summary judgment in its favor on the basis of the prior rulings

summarized above, in addition to what it contends are the undisputed material facts.

Specifically, Yakama contends that previous cases determined "who holds the Treaty rights of


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the signatories of the Treaty of 1855." Yakama Reply at 4. The Wenatchi signed the 1855

Treaty. Judge Marsh, however, concluded that "Colville has failed to establish that ...

descendants [of the signatory tribes] are entitled to exercise rights reserved to the Wenatchi,

Entiat, Chelan and Columbia who signed the Treaty as part of the 'Yakima Nation.''' Oregon,

787 F. Supp. at 1571. Rather, he found "the administrators of those rights, as reflected in the

1855 treaties, are The Confederated Tribes and Bands of the Yakima Indian Nation and The Nez

Perce Tribe of Idaho." Id. at 1572.

       The Ninth Circuit affirmed this holding, stating,

       We ... agree with the result reached by the district court that the descendants of
       the Wenatchi, Entiat, Columbia, Chelan, and Palus tribes now living on the
       Colville Reservation are not entitled to exercise treaty fishing rights. We reach
       this result because we conclude that the constituent tribes when they entered the
       Colville Confederacy did not retain any treaty fishing rights accorded signatories
       to the 1855 treaty. . .. Rather, we conclude that by deliberately separating from
       the Yakima Nation, these tribes failed to maintain political cohesion with the
       tribal entity in which the treaty fishing rights are vested.

Oregon 1,29 F.3d at 486 (emphasis added).

       Finally, in Oregon II, the Ninth Circuit summarized its earlier decision, stating,

       We went on, however, to affirm Judge Marsh's decision that neither Colville nor
       the Wenatchi had off-reservation fishing rights flowing from the 1855 Treaty. In
       doing so, we also noted that the parties agreed that the Wenatchi, Entiat, Chelan,
       Columbia and Palous Tribes were all signatories to the 1855 Treaty, but that
       "[t]he Yakima Treaty of 1855 envisioned the creation of a successor tribe, a
       'Yakima Nation' composed of all of the people represented by the signatories to
       the Treaty." The five tribes never moved to the reservation created for the
       Yakama Nation, which was the entity in which the treaty rights vested.

       We further observed that the present Yakama Nation was recomposed in 1974 and
       has exercised treaty rights as a successor to the entities that signed the original
       1855 Treaty. We concluded that, "by deliberately separating from the Yakima
       Nation, these tribes failed to maintain political cohesion with the tribal entity in
       which the treaty fishing rights are vested."


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 Oregon II, 470 F.3d at 814-15 (internal citations omitted) (emphasis added in Oregon II). In

short, Yakama asserts prior decisions have determined that the Wenatchi fishing rights vested in

Yakama upon the signing of the 1855 Treaty.

        Colville points out that, "without any apparent sense of irony, ... Yakama claims that the

1855 Treaty vested Yakama with all of the fishing rights of the Wenatchi people, while it now

deprives the Wenatchis of those same rights." Colville Resp. at 1. First, it challenges Yakama's

interpretation of the cases summarized above, and argues that Yakama, as it exists today, did not

acquire the Wenatchi rights. Second, it contends that under the 1855 Treaty, the Wenatshapam

fishery was not a "usual and accustomed" off-reservation fishing site, but was an on-reservation

fishery under Article X. 2

       On the first point, Colville concedes that the Ninth Circuit held the Wenatchi waived their

treaty fishing rights when they refused to move to the Yakama Reservation, but it argues "it

certainly did not hold, nor would it, that Yakama thereby acquired the rights of the Wenatchi

Tribe." Colville Resp. at 8. Yakama admits Judge Marsh described Yakama as the

"administrator" ofthe 1855 Treaty rights, but asserts "[n]othing in the district court's opinion

states that Yakama acquired and still 'administers' off-reservation fishing rights to the fishing

stations of the signatory tribes that did not remain a part of the Yakarna Nation." Colville Resp.

at 8, n.5. It suggests that the Ninth Circuit's opinion in Oregon I was focused on whether the

Wenatchi had a right to exercise treaty rights under the 1855 Treaty, and did not determine the

"scope of the treaty rights vested in Yakama, and whether its Article III treaty rights include



       2As a result of my decision to rely on Yakama' s narrower request for relief in its reply
memorandum, I do not address Colville's argument that Yakama ceded its rights to the fishery
pursuant to the 1894 Agreement. That is an issue reserved for trial.
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access to the aboriginal fishing location of the Wenatchi." Colville Resp. at 11.

        On the second point, Colville agrees that the Wenatchi was a signatory to the 1855

Treaty. It contends, however, that while the other signatories were required to move to the

Yakama Reservation, Article X of the 1855 Treaty created a separate reservation for the

Wenatchi. As a result, at the time of the 1855 Treaty, the Wenatshapam fishing rights were on-

reservation fishing rights, not off-reservation "usual and accustomed" rights. Colville contends,

then, that the Wenatchi had treaty fishing rights under Article X until 1894, and Yakama cannot

rely on that right to support its claim that it held Article III off-reservation fishing rights.

        Without relying on any cases, the United States agrees with Yakama that "at Treaty time,"

the Wenatchi fished at the Wenatshapum Fishery as described in Article X of the 1855 Treaty,

that the Wenatchi was a party to the 1855 Treaty, and that Yakama now administers the fishing

rights under that Treaty. The State of Washington asserts that Icicle Creek is a usual and

accustomed fishing place ofYakama under Article III of the 1855 Treaty.

        As Colville concedes, Judge Marsh and Oregon I held the Wenatchi waived treaty fishing

rights when the Wenatchi refused to move to the Yakama reservation. Contrary to Colville's

assertion, however, Judge Marsh and Oregon I concluded that Yakama held the treaty rights of

the original signatories. Neither Judge Marsh nor the Oregon I court imposed any limitations on

just which of those signatories' rights Yakama was charged with administering. 3 Indeed, in

addition to the portions of Judge Marsh's opinion I quote above, I note that at the end of his

opinion Judge Marsh stated,

       Finally, to the extent that individual members of the Colville Confederacy seek to


       3In his factual findings, Judge Marsh noted the testimony of Celia Dick who "testified
about Wenatchi efforts to continue fishing in the Icicle River." Oregon, 787 F. Supp. at 1565.
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        pursue treaty fishing rights, they are free to do so through the Yakima Nation and
        Nez Perce Tribe, the administrators of the 1855 and 1867 treaty rights at issue. I
        recognize the practical problems that such a suggestion creates based upon current
        Yakima and Nez Perce enrollment ordinances which require members to be
        enrolled in the tribe to exercise rights and which provide that no member may also
        be an enrolled member of another tribe. However, regulation of individual fishing
        rights within the tribe is a matter within the exclusive jurisdiction of the Yakima
        and Nez Perce Tribes and any amendment to their enrollment ordinances should
        be sought through those tribes.

Id. at 1571-72. In sum, the undisputed material facts and prior cases demonstrate that the

Wenatchi was a party to the 1855 Treaty, and that all fishing rights of the original signatories,

including the Wenatchi, vested in Yakama at the signing of the treaty.

        Nevertheless, factual issues surround the interpretation of the 1855 Treaty as to the scope

of any fishing rights Yakama received. It is undisputed that the Wenatchi fished at the

Wenatshapum Fishery as described in Article X of the 1855 Treaty. Article X of the 1855 Treaty

set aside the Wenatshapam fishery, while Article III granted the right to take fish at all "usual and

accustomed places." Accordingly, the question remains whether the Wenatshapam fishery was

encompassed in the Article III grant of off-reservation fishing rights. This is not an issue that

was resolved by previous courts. As a result, I cannot conclude as a matter of law that the

Wenatshapam fishery was a Yakama "usual and accustomed fishing place" under Article III.

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                                                CONCLUSION

       For the foregoing reasons, Yakama's Motion for Partial Summary Judgment (#2486) is

denied, except to the extent Iconfinn previous opinions issued by the Honorable Malcolm F.

Marsh and the Ninth Circuit.

IT IS SO ORDERED.                        .-1.
                                       11.
              Dated this ----:)=---,';-=-/_!.-_/?_ _ day of April, 2008.




                                                           GarrM. King
                                                           United States District Judge




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